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               EXHIBIT “A”
Electronically FILED by Superior Court of California, County of Los Angeles on 04/27/2021 11:49 AM Sherri R. Carter, Executive Officer/Clerk of Court, by R. Perez,Deputy Clerk
                        Case 2:21-cv-05370-RAO Document 21STCV15771
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                                                             SUMMONS                                                                       FOR COURT USE ONLY
                                                                                                                                        (SOLO PARA US0 DE LA CORTQ
                                                      (CITACION JUDICIAL)
                   NOTICE TO DEFENDANT: FAMILY DOLLAR STORES, INC., a Delaware
                   (A VISO AL DEMANDADO): corporation; FAMILY DOLLAR STORES OF
                    CALIFORNIA, INC., unknown entity; JAMES, an individual; and DOES 1-25,
                    inclusive.

                   YOU ARE BEING SUED BY PLAINTIFF:NYEISHA PETERSON, an individual.
                   (LO ESTA DEMANDANDO EL DEMANDANTE):



                                                                                                                           I

                    NOTICE! You have been sued. The court may decide against you without your being heard unless you respond within 30 days. Read the information
                    below.
                       You have 30 CALENDAR DAYS after this summons and legal papers are served on you to file a written response at this court and have a copy
                    served on the plaintiff. A letter or phone call will not protect you. Your written response must be in proper legal form if you want the court to hear your
                    case. There may be a court form that you can use for your response. You can find these court forms and more information at the California Courts
                    Online Self-Help Center (www.cou~nfo.ca.gov/sel~elp),         your county law library, or the courthouse nearest you. If you cannot pay the filing fee, ask
                    the court clerk for a fee waiver form. If you do not file your response on time, you may lose the case by default, and your wages, money, and property
                     may be taken without further warning from the court.
                        There are other legal requirements. You may want to call an attorney right away. If you do not know an attorney, you may want to call an attorney
                    referral service. If you cannot afford an attorney, you may be eligible for free legal services from a nonprofit legal services program. You can locate
                    these nonprofit groups at the California Legal Services Web site (www.lawhelpcalifomia.org),the California Courts Online Self-Help Center
                    (www.courtinfo.ca.gov/sel~elp),or by contacting your local court or county bar association. NOTE: The court has a statutoty lien for waived fees and
                    costs on any settlement or arbitration award of $10,000 or more in a civil case. The court's lien must be paid before the murt will dismiss the case.
                    iAVlSOI Lo han demandado. Si no responde dentru de 30 dlas, la code puede decidir en su contra sin escuchar su versidn. Lea la infonnacidn a
                    continuacibn.
                       Tiene 30 D~ASLIE CALENDAR10 despuds de que le entreguen esta citaudn y papeles legales para presentar una respuesta por escrito en esta
                    code y hacer que se entregue una copia a1 demandante. Una carta o una llamada telefdnica no lo protegen. Su respuesta por escrito tlene que estar
                    en formato legal correcto si desea que procesen su caso en la code. Es posible que haya un formulano que usted pueda user para su respuesta.
                    Puede encontrar estos fonnularios de la corte y mds lnforrnaddn en el C e n h de Ayuda de /as Cortes de California @ww.sucorte.ca.gov), en la
                    biblioteca de Ieyes de su condado o en la code que le quede mds cerca. Si no puede pagar la cuota de presentacidn, pida a1 secretano de la code
                    que le d6 un formulario de exencidn de pago de cuotas. Si no presenta su respuesta a tiempo, puede perder el caso por incumplimiento y la code le
                    podrd quitar su sueldo, dinero y bienes sin mds advertencla.
                      Hay otros requlsitos legeles. Es recomendable que llame a un abogado Inmediatamente. Si no conoce a un abogado, puede llamar a un senlicio de
                    remisidn a abogados. Si no puede pagar a un abogado, es posible que cumpla con 10s requisites para obtener servicios legales gratuitos de un
                    programa de s e ~ c i o legales
                                             s        sin fines de lucro. Puede encontrar estos grupos sin fines de lucro en el sitio web de CaliforniaLegal Senllces,
                    (www.lawhelpcalifornia.org), en el Centtw de Ayuda de /as Codes de California, ~ . s u c o r t e . c a . g o v )o poniendose en contacto con la corte 0 el
                    colegio de abogados locales. AVISO: Por ley, la code tiene derecho a reclamarlas cuotas y 10s costos exentos por imponer un gravamen sobre
                    cualquier recuperacldn de $70,000 d mds de valor recibida mediante un acuerdo o una concesidn de arbitraje en un caso de derecho dvil. Tiene que
                    pagar el gravamen de la corte antes de que la corte pueda desecher el caso.
               I
               The name and address of the court is:                                                       CASE NUMBER:
                                                                                                            (NrSrn d d &so):
               (El nombre y direcci6n de la corte 8s):
               Superior Court of California, County of Los Angeles
               3 12 North Spring Street
               Los ~ n ~ e l e~aiifornia
                               s,       900 12
               The name, address, and telephone number of plaintiffs attorney, or plaintiff without an attorney, is:Daniel Azizi, Esq.
                   (El nombre, la direcci6n y el nlSmero de tel6fono del abogado d8/ demandante, o del demandante que no tiene abogado, 8s):
               DOWNTOWN LA LAW GROUP
               601 N. Vermont Ave., Los Angeles, CA 90004                                                                                           (213) 389-3765
                DATE:                                                             Clerk. by                                                                      , Deputy
                (Fecha)                                                           (secretiio)                                                                            (Adjunto)
               (For proof of service of this summons, use Proof of Service of Summons (form POS-OIO).)
               (P& prueba de entrega de esta citati6n use el formulario Proof of service of summons; (POS-O~O)).
                                                 NOTICE TO THE PERSON SERVED: You are served
                                                        1.   0as an individual defendant.
                                                        2.   0as the person sued under the fictitious name of (specify):
                                                        3. 0on behalf of (specify):
                                                           under: 0CCP 416.10 (corporation)                0 CCP 416.60 (minor)
                                                                  0CCP 416.20 (defunct corporation)        0 CCP 416.70 (conservatee)
                                                                  0CCP 416.40 (association or partnership) ( CCP 41 6.90 (authorized person)
                                                                  0other (specifyl:
                                                        4. 0by personal delivery on (date):
                                                                                                                                        Page 1 of 1
                   Form Adopted for Mandatory Use                                                                                                 Code of Civil Procedure $9 41220,465
                     Judicial Council of California
                                                                                         SUMMONS                                                                    mvw.wurtinfo.ca.gov
                    SUM-100 (Rev.July 1,20091                                                                                                                W t b w Doc & Form Bulldcr
Electronically FILED by Superior Court of California, County of Los Angeles on 04/27/2021 11:49 AM Sherri R. Carter, Executive Officer/Clerk of Court, by R. Perez,Deputy Clerk
                      Case 2:21-cv-05370-RAO Document 21STCV15771
                                                      1-1 Filed 07/01/21 Page 3 of 35 Page ID #:13
                                        Assigned for all purposes to: Spring Street Courthouse, Judicial Officer: Daniel Crowley




                                                                -
                            DANIEL AZIZI, Esq. State Bar No. 268995
                            DOWNTOWN L.A. LAW GROUP
                            601 N, Vermont Ave.
                            Los Angeles, CA 90004
                            Tel: (213) 389-3765
                            Fax: (877) 389-2775
                            Email: Daniel@,downtownlalaw.com


                           Attorneys for Plaintiff
                           NYEISHA PETERSON

                                                                    SUPERIOR COURT OF CALIFORNIA
                                                       COUNTY OF LOS ANGELES - CENTRAL DISTRICT


                            NYEISHA PETERSON, an individual.                                             Case No.:

                                                                Plaintiff,                               COMPLAINT FOR DAMAGES

                                                                                                               1. NEGLIGENCE
                                                                                                               2. PREMISES LIABILITY
                            FAMILY DOLLAR STORES, INC., a
                            Delaware corporation; FAMILY DOLLAR
                            STORES OF CALIFORNIA, INC., unknown                                          [JURY DEMANDED]
                            entity; JAMES, an individual; and DOES 1-25,
                            inclusive.
                                                  Defendants.




                                       COMES NOW, Plaintiff, NYEISHA PETERSON, and alleges against Defendants,
                            and each of them, as follows:
                                                                                                                                                                           I
                            1.         Plaintiff NYEISHA PETERSON is an individual and is now, and at all times
                           mentioned in this complaint was, an adult resident of Los Angeles County, California.
                                                                                                                                                                           I
                            2.         Plaintiff is informed and believes, and based upon such information and belief alleges)
                            that at all times relevant hereto Defendants FAMILY DOLLAR STORES, INC., a Delaware
                            corporation; FAMILY DOLLAR STORES OF CALIFORNIA, INC., unknown entity;
                            JAMES, an individual; and DOES 1-25, inclusive, are, and at all times herein mentioned
                                                                                                                                                                           I
                                                                               COMPLAINT FOR DAMAGES
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   where individuals, corporations, sole proprietors, shareholders, associations, partners and
   partnerships, joint venturers, and/or business entities unknown, primarily residing and doing
   business in the County of Los Angeles, State of California.
   3.     Plaintiff is informed and believes, and based upon such information alleges that
   Defendant JAMES was a supervisor and/or manager of the store at the time of Plaintiffs trip
   and fall. Based on information and belief, JAMES is now, and at all times mentioned in this
   complaint was, an adult resident of Los Angeles County, California. It is believed that
   JAMES was responsible for the maintenance of the store at the time of Plaintiffs trip and
   fall, was responsible to verify that there was in place a policy which provided for the
   maintenance of the store according to industry standards, was responsible for the training an(
   education of the store employees who were tasked with conducting the maintenance of the
   store, and was responsible for verifying that the store be maintained according to industry
   standards and sufficient policies and procedures.
   4.     Defendants DOES 1-25, inclusive, are sued herein under fictitious names, their true
  names and capacities being unknown to Plaintiff. Plaintiff will amend this complaint to
   allege their true names and capacities when ascertained. Plaintiff is informed and believes
   and thereon alleges that each of the fictitiously named Defendants is responsible in some
   manner for the occurrences herein alleged, and that Plaintiff's damages as herein alleged wer
  proximately caused by those Defendants.
   5.     Plaintiff is informed and believes, and based upon such information and belief allege!
  that at all times relevant hereto Defendants FAMILY DOLLAR STORES, INC., a Delaware
   corporation; FAMILY DOLLAR STORES OF CALIFORNIA, INC., unknown entity;
  JAMES, an individual; and DOES 1-25, inclusive, are, and at all times herein mentioned
  where individuals, corporations, sole proprietors, shareholders, associations, partners and
  partnerships, joint venturers, and/or business entities unknown, primarily residing and doing
  business in the County of Los Angeles, State of California. At all times herein mentioned,
  said Defendants were the owners, lessors, sub-lessors, managing agents, landlords, renters,



                                     COMPLAINT FOR DAMAGES
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  managers, operators, marketers, inspectors, maintainers and controllers, of a commercial
  property located at 7300 S. Western Ave., Los Angeles, CA 90047 (hereinafter referred to as
   "THE SUBJECT PREMISES"), to which building the general public is invited to come.
  6.     At all times herein mentioned, each of the Defendants were the agents, servants, and
  employees of their co-defendants, and in doing the things hereinafter alleged were acting in
  the scope of their authority as agents, servants, and employees, and with permission and
  consent of their co-defendants. Plaintiff is M e r informed and believes, and thereon
  alleges, that each of the Defendants herein gave consent to, ratified, and authorized the acts
  alleged herein to each of the remaining Defendants.
                                  FIRST CAUSE OF ACTION
                                          NEGLIGENCE
                                     (Against All Defendants)
  7.     Plaintiff re-alleges each and every allegation contained in the above Paragraphs 1
  through 6, and by this reference incorporates said paragraphs as though fully set forth herein.
  8.     On May 17,20 19 Plaintiff was lawfdly on the premises of Defendants' store for the
  purpose of purchasing items. As Plaintiff walked within the subject premises, she tripped on
  unmarked and/or unsecured construction debris andlor similar items on the floor causing her
  to fall, thereby causing Plaintiff to endure severe injury and pain.
  9.     Said Defendants, and each of them, l l l y and well knew, or should have known in the
  exercise of reasonable care, that the structures and/or components and/or other parts of said
  premises were in a dangerous and defective and unsafe condition, and a menace to Plaintiff
  and others lawfblly on said premises.
   10.   By reason of the aforesaid negligence, carelessness and recklessness of Defendants,
  and each of them, as aforesaid, and as a direct and proximate result thereof, dangerously
  unmarked and/or unsecured construction debris and/or similar items that was not properly
  installed, maintained, cleaned and/or protected at said property causing Plaintiff to sustain thc
  injuries and damages as hereinafter alleged.



                                     COMPLAINT FOR DAMAGES
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   11.       As a direct and proximate result of the negligence, carelessness and recklessness of
   Defendants, and each of them, as aforesaid, Plaintiff was hurt in her health, strength and
   activity, sustaining severe shock and injuries to her person, all of which said injuries have
   caused, continue to cause, and will in the future cause Plaintiff great physical and emotional
   pain and suffering; Plaintiff is informed and believes, and therefore alleges, that said injuries
   are permanent in nature, all to her damage in a sum according to proof.
   12.       As a direct and proximate result of the negligence, carelessness and recklessness of
   Defendants and each of them, as aforesaid, Plaintiff has been required to obtain medical
   services, and Plaintiff has s a e r e d severe emotional distress.
                                   SECOND CAUSE OF ACTION
                                       PREMISES LIABILITY
                                       (Against All Defendants)
   13.       Plaintiff re-alleges each and every allegation contained in the above Paragraphs 1
   through 12, and by this reference incorporates said paragraphs as though fully set forth
   herein.
   14.       On May 17,2019 Plaintiffwas lawfidly on the premises of Defendants' store for the
   purpose of purchasing items. As Plaintiff walked within the subject premises, she tripped on
   unmarked andlor unsecured construction debris andor similar items on the floor causing her
   to fall, thereby causing Plaintiff to endure severe injury and pain.
   15.       On or about May 17,2019, Defendants FAMILY DOLLAR STORES, INC., a
   Delaware corporation; FAMILY DOLLAR STORES OF CALIFORNIA, INC., unknown
   entity; JAMES, an individual; and DOES 1-25, inclusive, carelessly and negligently owned,
   rented, managed, leased, supervised, inspected, operated, maintained and/or controlled the
   premises located at 7300 S. Western Ave., Los Angeles, CA 90047, such that it was in a
   dangerous, defective and unsafe condition in conscious disregard for the risk of harm to
   invitees thereon. By reason of said carelessness, negligence and conscious disregard of the




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                                       COMPLAINT FOR DAMAGES
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  Defendants, and each of them, said premises were unsafe and dangerous to the general public
  and specifically Plaintiff, NYEISHA PETERSON.
   16.   Defendants FAMILY DOLLAR STORES, MC., a Delaware corporation; FAMILY
  DOLLAR STORES OF CALIFORNIA, INC., unknown entity; JAMES, an individual; and
  DOES 1-25, inclusive, and each of them, failed to warn Plaintiff of said dangerous, defective
  and unsafe condition, although said Defendants, and each of them, knew of said condition.
   17.   As a direct and legal result of said carelessness, negligence and conscious disregard
  of Defendants FAMILY DOLLAR STORES, INC., a Delaware corporation; FAMILY
  DOLLAR STORES OF CALIFORNIA, INC., unknown entity; JAMES, an individual; and
  DOES 1-25, inclusive, and each of them, Plaintiff was seriously injured when she stepped on
  unmarked and/or unsecured construction debris and/or similar items on the floor causing her
  to trip and fall, thereby causing Plaintiff to endure severe injury and pain.
                                     PRAYER FOR RELIEF
         WHEREFORE, Plaintiff demandsjudgment against Defendants as follows:
   1.    For general damages in a sum according to proof;
  2.     For medical, hospital, and related expenses according to proof;
   3.    For loss of earnings according to proof;
   4.     For loss of future earning capacity according to proof;
   5.     For pre- and post-judgment interest and costs of suit incurred herein;
   6.     For such other and further relief as this Court may deem proper.




   DATED: April 22,202 1                              DOWNTOWN L.A. LAW GROUP



                                                      1  BY: Daniel Azizi, Esq.
                                                         Attorney for Plaintiff,
                                                         NYEISHA PETERSON

                                                  5                                -   -


                                     COMPLAINT FOR DAMAGES
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                                 DEMAND FOR JURY TRIAL
        Plaintiff demands trial by jury of all issues so triable.


   IATED: April 22,2021                                 DOWNTOWN L.A. LAW G R O W




                                                          Attorney for Plaintiff,
                                                          NYEISHA PETERSON




                                                    6
                                      COMPLAINT FOR DAMAGES
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                                                                                                                                                                         CM-01
               -ATTORNEV OR PARTY WITHOUT AlTORNEY (Name, Stere mnumbar, acdeddrerr).                                                         FORCOURTUSEONLY
                 Daniel Azizi, Esq.                                SBN: 268995
                 DOWNTOWN L A L A W GROUP
                 601 N. Vermont Ave., Los Angeles, C A 90004
                        TELEPHONE ~0..(213) 389-3765             FAXNO (877) 389-2775
                A n m N E V FOR ( N ~ ~ J . N Y E I S H
                                                      PETERSON
                                                        A
               SUPERIOR COURTOFCALIFORNIA, m u m OFLOSANGELES
                     STREETMoRESS:3 12 North Spring Street
                     MAJLINO ADORESS 3 12 North Spring Street
                    C I N A N O ~ CODE
                                  P    LOS   Angeles.
                                                -     . CA 90012
                         SRANCH NAM Sprine Sveet Courthouse
                 CASE ?UAME.NYEiSHA PETERSON vs. FAMILY DOLLAR STORES, INC., et. al.

                        CIVIL CASE COVER SHEET                                                                                 CASE N U M B ~
                                                                                 Complex Case Deslgnatlon
                            Unlimited       nLimited                         0Counter              0  Joinder
                            (Amount              (Amount                                                                  JUWE
                            demanded             demanded Is          Filed
                                                                         -~ with first aooearance
                                                                                         , ~~. ~- - bv ~ defendant
                                                                                                       -, ~- - - . - ~-
                                                                        I                                        -
                                                        ~   ~~      ~                ~    ~~~




               L            exceeds $25,000)     $25,000 or less)          (Gal. Rules of court ruie 3.402)                OEPT:
                                                     items 1-6 below must be wmpleted (see instructions on page 2).
               11. Check one box below for the case type that best descrlbes this case:
                   Auto Tort                                        Contract                                      Provlslonally Complex Clvll Lltlgatlon
                   0 Aulo (22)                                                      of wntr~marramy(06) (Cal. Rules of Court, ruks 3.4003.403)
                   0 Un~nsuredmoiorisl(46)                                  0
                                                                            Rule 3.740 wlleci~ons(09)                  0AnldrusVTrade regulation(03)
                   Other PVPDNfD (Personal ln]ury/Properly          0 Other wllecllons (09)                            0Construction defect (10)
                   lhmageNYrongful Death) Tort                              0
                                                                            Insurance mverage (18)                     0Mass ton (40)
                        13Asbestos (04)                                     0
                                                                           Other contract (37)                         0Securitieslitigation (28)
                        O Produnl~ab~l~ty  (24)                     Real Property                                      0EnvironmentaVToxicton (30)
                        0 Medical malpractlce (45)                          0
                                                                            Eminent domain/lnvene                 C ] Insurance coverage claims aris~ngtom the
                          Other PIIPDIWD (23)                              mndemnatbn (14)                              above l~sledpmvisionally mmplex case
                    Non-PVPDMID(Other) Tort                                 0
                                                                           Wrongful eviction (33)                       types (41)
                          Business toWunfair business prsotlce (07)         0her real property (a)                Enforcement of Judgment
                        0 CIVII nghts (08)                          Unlawiul Detalner                                  OEnforcementof iudgmem (20)
                          Defamation (13)                           0 Commercial (31)                             Miscellaneous Clvll Complaint
                   0 Fraud (16)                                             Res~dential(32)                             RICO (27)
                   0 lntektusJ properly (19)                                0
                                                                            Drugs(38)                             U Other comp~alnt(not specrliedabove) (42)
                          Professional negilgence (25)              Judlclal Revlew                               Miscellaneous Civil Petltlon
                   O Other ~O~-PIIPDIWDton (35)                     0 Asset forfedure (05)                             OPannership and corporate governance (21)
                    Employment                                              0
                                                                            Petiron re: arbfirationaward ($1)           Other partion       specified    (43)
                          Wrongful termination (36)                        Wm of mandate (02)
               -        0 Other employment (15)                             0
                                                                            Otherjud~cialreview (39)
               2. This case UIs                      is not complex under rule 3.400 of the California Rules of Court. If the case is complex, mark the
                    factors requiring exceptional judicial management:
                    a.         Large number of separately represented parties           d.        Large number of witnesses
                    b. 0 Extensive motion practice raising diMcult or novel e.                    Coordination with related actions pending in one or more Courts
                               issues that will be time-consuming to resolve                      in other counties, states, or countries, or in a federal court
                    c.      0  Substantial amount of documentary evidence               f.       0Substantial postjudgment judicial supervision
               3. Remedies sought (checkallthatapply): a . m monetary                       b . 0 nonmonetary: declaratory or Injunctive relief                C.   [7punltive
               4. Number of causes of action (specIi'y):Two
               5. This case         0
                                    Is        is not a class action suit.
               6. If there are any known related cases, flle and serve a notice of related case. (You may us
               Date:4/22/21
               Daniel Azizi. Esa.
                                            I N P E OR PRINTNkMEI
                                                                                                      b              (SIGNANREOF PARlYORArrORNN FMI PARTY
                                                                                           NOTICE
                        Plaintiff must flle this cover sheet with the fistpaper filed in the actlon or proceeding (except small claims cases or cases filed
                        under the Probate Code, Family Code, or Welfare and institutions Code). (Cal. Rules of Court, rule 3.220.) Failure to flle may result

                    -   in sanctions.
                        File this cover sheet in addition to any cover sheet required by local court rule.
                        If this case is complex under rule 3.400 et seq. of the California Rules of Court, you must serve a copy of this cover sheet on all
                        other parties to the actlon or prooeeding.
                        Unless this is a collections case under rule 3.740 or a complex case, this cover sheet will be used for statistical purposes onb. . .-
               I                                                                                                                                                          *ma7 or q
               F-    m o d IW ~andaxw no                                                                                           CCI RU- 01 Can. a- 230.3m. 3 400.3 a.      3 710
                        Co.nco d Callom a
                    Jul-l
                                                                            CIVIL CASE COVER SHEET                                       C d ~ n d m ~ l J u l ~ ~ ~ A a m n d (3mI 0l m M
                    GMOIOIRsr J L 1~2m7l                                                                                                                          wmumbm%l~r
     Case 2:21-cv-05370-RAO Document 1-1 Filed 07/01/21 Page 10 of 35 Page ID #:20


                                                                                                                                        CM-010
                                     INSTRUCTIONS ON HOW TO COMPLETE THE COVER SHEET
TO Plaintiffs and Others Filing First Papers. If you are filing a first paper (for example, a complaint) in a civil case, you must
complete and file, along with your first paper, the Civil Case Cover Sheet contained on page 1. This information will be used to compile
statistics about the types and numbers of cases filed. You must complete items 1 through 6 on the sheet. In item I , you must check
one box for the case type that best describes the case. If the case fits both a general and a more specific type of case listed in item 1,
check the more specific one. If the case has multiple causes of action, check the box that best indicates the primary cause of action.
To assist you in completing the sheet, examples of the cases that belong under each case type in item 1 are provided below. A cover
sheet must be filed only with your initial paper. Failure to file a cover sheet with the first paper filed in a civil case may subject a party,
Its counsel, or both to sanctions under rules 2.30 and 3.220 of the California Rules of Court.
To Parties in Rule 3.740 Collections Cases. A "collections case" under rule 3.740 is defined as an action for recovery of money
owed in a sum stated to be certain that is not more than $25,000, exclusive of interest and attorney's fees, arising from a transaction in
which property, services, or money was acquired on credit. A collections case does not include an action seeking the following: (I)         tort
damages, (2) punitive damages, (3) recovery of real property, (4) recovery of personal property, or (5) a prejudgment writ of
attachment. The identification of a case as a rule 3.740 collections case on this form means that it will be exempt from the general
tirne-for-service requirements and case management rules, unless a defendant files a responsive pleading. A rule 3.740 collections
case will be subject to the requirements for service and obtaining a judgment in rule 3.740.
To Parties i n Complex Cases. In complex cases only, parties must also use the Civil Case Cover Sheet to designate whether the
case is complex. If a plaintiff believes the case is complex under rule 3.400 of the California Rules of Court, this must be indicated by
completing the appropriate boxes in items 1 and 2. If a plaintiff designates a case as complex, the cover sheet must be served with the
complaint on all parties to the action. A defendant may file and serve no later than the time of its first appearance a joinder in the
plaintiff's designation, a counter-designationthat the case is not complex, or, if the plaintiff has made no designation, a designation that
the case is complex.                                      CASE TYPES AND EXAMPLES
Auto Tort                                        Contract                                          Provisionally Complex Civil Litigation (Cal.
     Auto (22)-Personal InjurylProperty             Breach of ContractMlarranty (06)                Rules of Court Rules 3.4004.403)
          DamageMlrongful Death                          Breach of RentaVLease                           Antitrustrrrade Regulation (03)
     Uninsured Motorist (46) (if the                          Contract (not unlawful detainer            Construction Defect (10)
          case involves an uninsured                              or wrongful eviction)                  Claims Involving Mass Tort (40)
          motorist claim subject to                      ContractlWarranty BreachSeller                  Securities Litigation (28)
          arbitration, check this item                        Plaintiff (not fraud or negligence)        Environmenta!/Toxic Tort (30)
          instead of Auto)                               Negligent Breach of Contract/                   lnsurance Coverage Claims
Other PIIPDIWD (Personal Injury1                              Warranty                                        (arising from provisionally complex
Property DamageMlrongful Death)                          Other Breach of ContractlWarranty                   case type listed above) (41 )
Tort                                                Collections (e.g., money owed, open              Enforcement of Judgment
     Asbestos (04)                                       book accounts) (09)                             Enforcementof Judgment (20)
         Asbestos Property Damage                        Collection Case-Seller Plaintiff                    Abstract of Judgment (Out of
                                                         Other Promissory NoteICollections                         County)
         Asbestos Personal Injury1
               Wrongful Death                                 Case                                           Confession of Judgment (non-
     Product Liability (not asbestos or             Insurance Coverage (not provisionally                          domestic relations)
          toxidenvimnmental)(24)                         complex) (18)                                       Sister State Judgment
     Medical Malpractice (45)                            Auto Subrogation                                    Administrative Agency Award
          Medical Malpractice                            Other Coverage                                           (not unpaid taxes)
                Physiaans & Surgeons                Other Contract (37)                                      PetitiodCertification of Entry of
         Other Professional Health Care                  Contractual Fraud                                        Judgment on Unpaid Taxes
                Malpractice                              Other Contract Dispute                              Other Enforcement of Judgment
                                                                                                                   Case
     Other PIIPDMID (23)                         Real Property                                       Miscellaneous Clvil Complatnt
          Premises Liability (e.g., slip            Eminent Domain11nverse
                                                                                                         RlCO (27)
               and fall)                                 Condemnation (14)
          Intentional Bodily InjuryIPDlWD           Wrongful Eviction (33)                               Other Complaint (not specified
                                                                                                             above) (42)
                (e.g., assault, vandalism)          Other Real Property (e.g., quiet title) (26)
          Intenlional Inflictionof                                                                            Declaratory Relief Only
                                                         Writ of Possession of Real Property                  Injunctive Relief Only (non-
                Emotional Distress                       Mortgage Foreclosure                                       harassment)
          Negligent Inflictionof                         Quiet Title
                Emotional Distress                                                                            Mechanics Lien
                                                         Other Real Property (not eminent                    Other Commercial Complaint
          Other PIIPDMID                                 domain, IandlorcVlenant, or
                                                                                                                    Case (non-torVnon-complex)
Non-PIIPDMID (Other) Tort                                foreclosure)                                        Other Civil Complaint
     Business TortJUnfairBusiness                Unlawful Detainer                                                 (non-tomon-complex)
        Practice (07)                               Commercial (31)                                  Misceiianeous Civil Petition
     Civil Rights (e.g., discrimination,            Residential (32)                                     PEtrtnership and Corporate
         false arrest) (not civil                   Drugs (38) (if the case involves illegal                  Governance (21)
          harassment) (08)                               drugs, check this item; otherwise,              Other Petition (not specified
     Defamation (e.g., slander, libel)                   report as Commercial or Residentia!)                 above) (43)
           (13)                                  Judlclal Review                                              Civil Harassment
     Fraud (16)                                     Asset Forfeiture (05)                                    Workplace Violence
     Intellectual Property (19)                     Petition Re: Arbitration Award (11)                       ElderIDependentAdult
     Professional Negligence(25)                    Writ of Mandate (02)                                           Abuse
         Legal Malpractice                               Writ-Administrative Mandamus                         Election Contest
         Other Professional Malpractice                  Writ-Mandarnus on Limited Court                      Petition for Name Change
              (not medical or legal)                         Case Matter                                      Petition for Relief From Late
      Other Non-PIIPDMID Tort (35)                       Writ-her      Limited Court Case                           Claim
Employment                                                   Review                                           Other Civil Petition
     Wrongful Termination (36)                      Other Judicial Review 39)
     Other Employment (15)                               Review of Health bfficer Order
                                                         Notice of A~peal-Labor
                                                            ~ommiss'ionerAppeals
CMOlO [Rev.July 1.20071                                                                                                                   Page 2 af 2
                                                     CIVIL CASE COVER SHEET
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 SHORTTITLE: NYEISHA          PETERSON VS. FAMILY DOLLAR STORES, INC., et.                                CASE NUMBER
 al.

                              ClVlL CASE COVER SHEET ADDENDUM AND
                                      STATEMENT OF LOCATION
                (CERTIFICATE OF GROUNDS FOR ASSIGNMENT TO COURTHOUSE LOCATION)

L              This form is required pursuant to Local Rule 2.3 in all new clvil case filings in the Los Angeles Superior Court.



       Step 1:After completing the Civil Case Cover Sheet (Judicial Council form CM-010), find the exact case type in
                   Column A that corresponds to the case type indicated in the Civil Case Cover Sheet.

       Step 2: In Column B, check the box for the type of action that best describes the nature of the case.

       Step 3: In Column C, circle the number which explains the reason for the court filing location you have
                   chosen.

                                            Applicable Reasons for Choosing Court FilingLocation (ColumnC)

1. Class actions must be filed in the Stanley Mosk Courthouse. Central District.           7. Location where petitioner resides.
2. Permissive filing in central district.                                                  8. Location wherein defendantlrespondentfunctions wholly.
3. Location where cause of action arose.                                                   9. Locationwhere one or more of the parties reside.
4. Mandatory personal injury l i n g in North District.                                   10. Location of Labor CommissionerOffice.
5. Location where performance required or defendant resides.
                                                                                                                                   -
                                                                                          11.Mandatory filing location (Hub Cases unlawful detainer, limited
                                                                                          non-collection, limited collection, or personal injury).
6. Location of property or permanently garaged vehicle.




                                 A                                                               B                                                      C
                     Civil Case Cover Sheet                                                Type of Action                                    Applicable Reasons   -
                           Category No.                                                   (Check only one)                                    See Step 3 Above

                             Auto (22)                    A7100 Motor Vehicle - Personal InjurylProperty DamageMlrongful Death               1,4,11

                     Uninsured Motorist (46)                                                                          -
                                                          A71 10 Personal InjurylProperty DamageMlrongful Death UninsuredMotorist            1, 4, 11


                                                          A6070 Asbestos Property Damage                                                     1,11
                          Asbestos (04)
                                                                           -
                                                          A7221 Asbestos Personal InjurjMIrongful Death                                      1,11

                       Product Liability (24)       0 A7260 Product Liability (not asbestos or toxic/environmentaI)                          1,4,11


                    Medical Malpractice (45)
                                                                                      -
                                                          A7210 Medical Malpractice Physicians & Surgeons                                    1,4,11

                                                          A7240 Other Professional Healh Care Malpractice                                    1,4.11


                                                    El A7250 Premises Liability (e.g.. slip and fall)
                         Other Personal                                                                                                      1,4,11
                         Injury Property                  A7230 Intentional Bodily InjurylProperty DamageMlrongfulDeath (e.g.,               l,4,1l
                        Damage Wongful                          assault, vandalism, etc.)
                           Death (23)                                                                                                        1.4,11
                                                          A7270 Intentional Infllctlonof Emotional Distress
                                                                                                                                             1,4,11
                                                          A7220 Other Personal InjurylProperty DarnageMlrongfui Death




    LASC CIV 109 Rev. 12/18                       ClVlL CASE COVER SHEET ADDENDUM                                                         Local Rule 2.3
    For Mandatory Use                                AND STATEMENT OF LOCATION                                                              Page 1 of 4
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SH0RTTITLE:NYEISHAPETERSON VS. FAMILY DOLLAR STORES, INC.,et.                                   CASE NUMBER
a1.

                               A                                                        B                                              C Applicable
                    Civtl Case Cover Sheet                                        Type of Action                                               -
                                                                                                                                    Reasons See Step 3
                          Category No.                                           (Check only one)                                         Above

                      Business Tort (07)            A6029 Other CommerciaVBusinessTort (not fraudlbreach of contract)               1,2,3
      2%
      %=
      e
        g
         -             Civil Rights (08)

                       Defamation (13)
                                                    A6005 Civil RigMslDiscriminatimn

                                                 0 A6010 Defamation(slanderllibel)
                                                                                                                                    1,2,3


      se                                                                                                                            1.2,3

      -c m
      .Lt
      ,                     Fraud (16)              A6013 Fraud (no contract)                                                       1,2,3
       gg
       E


                                                    A6017 Legal Malpractice
      f2         Professional Negligence (25)
                                                                                                                                    1,2,3

      % f!   .
                                                    A6050 Other Professional Malpractice (not medicalor legal)                      1.2,s
      st3
                            Other (35)              A6025 Other Non-Personal InjurylProperly Damage tort                            1,2,3

       u          Wrongful Termination (36)         A6037 Wrongful Termination
       r                                                                                                                            1,2,3

       -i
       0
        n          Other Employment (15)
                                                    A6024 Other Employment Complaint Case                                           1,2,3
       E                                            A6109 Labor Commisloner Appeals                                                 10
       W

                                                    A6004 Breach of RentaVLease Contract (not unlawful detainer or wrongful
                                                          eviction)                                                                 2,
                 Breach of Contract/ Warranty                                                                                       2.5
                                                    A6008 ContractlWarrantyBreach Seller Plaintiff (no frsudlnegl$ence)
                             (06)
                       (not insurance)              A6019 Negligent Breach of ContracWVarranty (no fraud)                           1.2,5

                                                    A6028 Other Breach of ContracVWarranty (not fraud or negligence)                1,2,5

       --E
       U
                       Collections (09)
                                                    A6002 Collections Case-Seller Plaintiff                                         5, 6, 11
       s                                            A6012 Other Promissory NotelCollectionsCase                                     5,11
       6                                            A6034 Collections Case-Purchased Debt (Charged Off Consumer Debt                5,6, 11
                                                          Purchased on or after January 1.201 4)
                   Insurance Coverage (18)      O A6015 Insurance Coverage (not complex)                                            1.2,5,8

                                                    A6009 Contractual Fraud                                                         1,2, 3.5
                     Other Contract (37)        0 A8031 Tortious Interference                                                       1,2,3,5
                                                    A6027 Other Contract Dispute(not breachlinsurancelfraudlnegligence)             1,2,3,8,9

                                                    A7300 Eminent Domain/Condemnation               Number of p a m l s             2.6
                   Em~~$~~,!$~)rse

                    Wrongful Eviction (33)          A6023 Wrongful Eviction Case                                                    2.6
       E'
       -
       n
                                                    A6018 Mortgage Foreclosure                                                      2.6
       3
       w           Other Real Property (26)         A6032 Quiet Title                                                               2, 6
                                                    A6060 Other Real Properly (not eminent domain, landlord/tenant,foreclosure)     2,6

                      Detainer-Commercial
                 Unlawful
                                   A6021 Unlawful Detainer-Commercial(not drugs or wrongful eviction)                               6, 11
       z                (31
       E
                            Detpy-Resldential
       1
       -
                 un'awfu'    32
                                     A6020 Unlawful Detainer-Residential(not drugs or wrongful eviction)
                     Unlawful Detainer-
                                                                                                                                    6, 11

       5            Post-Foreclosure 34             A6020F Unlawful Detainer-Post-Foreclosure                                       2.6, 11
       2
       a         Unlawful Detainerarugs (38)        A6022 Unlawful Detainer-Drugs                                                   2,6,ll


                                                CIVIL CASE COVER SHEET ADDENDUM                                                   Local Rule 2.3
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                                                   AND STATEMENT OF LOCATION                                                        Page 2 of 4
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SHORTTITLE:         NYEISHA PETERSON vs. FAMILY DOLLAR STORES, NC.,et.                                  CASENUMBER
al.
                                     A                                                          B                                 C Applicable
                          Civil Case Cover Sheet
                                Category No.
                                                                                          Type of Action
                                                                                         (Check only one)
                                                                                                                                           -
                                                                                                                               Reasons See Step 3
                                                                                                                                     Above

                           Asset Forfeiture (05)            A6108 Asset Forfeiture Case                                        2,3,6

                         Petitionre Arbitration (11)        A6115 Petitionto CompeVConfirmNacateArbitration                    2.5
        .-%
        -
        E
         s                                                             -
                                                            A6151 Writ Administrative Mandamus                                 2,8
        .I
        Y                  Writ of Mandate (02)             A6152 Writ - Mandamuson Limited Court Case Matter                  2
        u
        a
        7
                                                            A6153 Wril - Other Limited Court Case Review                       2

                      Other Judicial Review (39)            A6150 Other Writ Nudicial Review                                   2,8


        --sm
                    Antitrustrrrade Regulation (03)         A6003 AntitrustlTrade Regulation                                   1,2,8
          0

        -ra,             Construction Defect (lo)           A6007 Construction Defect                                          1.2,3

                          involving Mass
                      Claims
        3 CL                  (40)
                                                            A6006 Claims Involving Mass Tort                                   1,2,8

        0
         5               Securities Litigation(28)          A6035 Securities Litigation Case                                   1.2,8
        -sm                     Toxic Tort
          r
        .-
        .-
          0
          U)
                            Environmental(30)            0 A6036 Toxic TorVEnvironmental                                       1,2,3,8


        n
          z          I                               n
                                                            A6014 Insurance CoverageIS~brogatbn(complex case only)             1, 2, 5,8




      =
      @

      a
           -   c
               al
                                                            A6141 Sister State Judgment
                                                         0 A6160 Abstract of Judgment
                                                            A6107 Confessionof Judgment (non-domestic relations)
                                                                                                                               2,5,11
                                                                                                                               2,6
                                                                                                                               2 9
      E2 wg                     Enforcement
                             of Judgment (20)               A6140 Adminlstratlve Agency Award (not unpaid taxes)               2,8
      sz
      6s                                                    A61 14 PetitionICertificatefor Entry of Judgment on Unpaid Tax     2,8
                                                         0 A6112 Other Enforcementof Judgment Case                             2.8,9

                                 RlCO (27)                  A6033 Racketeering(RICO) Case                                      1,2,8
           4
      --g" 2,E
                                                            A6030 Declaratory Relief Only                                      1,2,8
                             Other Complaints               A6040 Injunctive Relief Only (not domestidharassment)              2. 8
           2                 Specified        (42)       0 A6011 Other Commercial Complaint Case (non-tortlnoncomplex)         1,2,8
      1 '5
           5                                                A6WO Other Civil Complaint (non-torVnon-complex)                   1,2,8

                          Parb?ershlp                       A61 13 Partnershipand Corporate Governance Case                    2.8
                             Governance (21)

                                                         0 A6121 Civil Harassment Wth Damages                                  2,3,9
               u,
           c                                                A6123 Workplace Harassment With Damages                            2,3,9
      8
      s
           2
           =                                                A6124 EklerIDependentAdutt Abuse Case With Damages                 2, 3,9
      2    2                Other Petitions(Not
      i!
      -
      ~0
                           Specified Above) (43)            A6190 Election Contest
                                                            A6110 Petitionfor Change of NamelChange of Gender
                                                                                                                               2
                                                                                                                               2.7
                                                         O A6170 Pettion for Relief from Late Claim Law                        2,3,8
                                                            A6100 Other Civil Petiiion                                         2, 9
                                                                                                                                                    1




                                                         CIVIL CASE COVER SHEET ADDENDUM                                     Local Rule 2.3
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                                                            AND STATEMENT OF LOCATION                                          Page 3 of 4
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 SHORTTITLE     NYEISHA PETERSON VS.FAMILY DOLLAR STORES,INC., et.                       CASE NUMBER
al.

Step 4: Statement of Reason and Address: Check the appropriate boxes for the numbers shown under Column C for the
               type of action that you have selected. Enter the address which is the basis for the filing location, includingzip code.
               (No address required for class action cases).

                                                                     AODRESS:
      REASON:                                                         at or near 7300 S. Western Ave.
       I1.02.U3.IA4.05.U6.07.             08.0 9.010.~11.


      CTTY.                                  STATE:     ZIP CODE:
   Los Angeles                              CA         90047


Step 5: Certification of Assignment: Icertify that this case is properly filed in the Central                              District of
               the Superior Court of California, County of Los Angeles [Code Civ. Proc., 9392 et seq., and Local Rule 2,3(a)(l)(E)].




  Dated: 4/22/21
                                                                                     1
                                                                                     (SIGNATURE   A    ORNMFILINGPARTY)




  PLEASE HAVE THE FOLLOWING ITEMS COMPLETED AND READY TO BE FILED IN ORDER TO PROPERLY
  COMMENCEYOUR NEW COURT CASE:
          1. Original Complaint or Petition.
          2.    If filing a Complaint, a completed Summons form for issuance by the Clerk.
          3. Civil Case Cover Sheet, Judicial Council form CM-010.

          4. Civil Case Cover Sheet Addendum and Statement of Location form, LAClV 109, LASC Approved 03-04 (Rev.
             02/16).
          5. Payment in full of the filing fee, unless there is court order for waiver, partial or scheduled payments.
          6. A signed order appointingthe Guardian ad Litem, Judicial Councilform CIV-010, if the plaintiff or petitioner is a
             minor under 18 years of age will be required by Court in order to issue a summons.
          7. Additional copies of documents to be conformed by the Clerk. Copies of the cover sheet and this addendum
             must be served along with the summons and complaint, or other initiating pleading in the case.




                                            CIVIL CASE COVER SHEET ADDENDUM                                              ~ o c dRule 2.3
  LASC CIV 109 Rev. 12118
                                               AND STATEMENT OF LOCATION                                                    Page 4 of 4
  For Mandatory Use
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                                                                                                Reserved for Clerk’s File Stamp
                  SUPERIOR COURT OF CALIFORNIA
                     COUNTY OF LOS ANGELES
  COURTHOUSE ADDRESS:
 Spring Street Courthouse
 312 North Spring Street, Los Angeles, CA 90012

                   NOTICE OF CASE ASSIGNMENT
                          UNLIMITED CIVIL CASE

                                                                                 CASE NUMBER:

  Your case is assigned for all purposes to the judicial officer indicated below. 21STCV15771

                           THIS FORM IS TO BE SERVED WITH THE SUMMONS AND COMPLAINT

                ASSIGNED JUDGE               DEPT     ROOM                  ASSIGNED JUDGE                       DEPT             ROOM
   ✔     Daniel M. Crowley                  28




    Given to the Plaintiff/Cross-Complainant/Attorney of Record   Sherri R. Carter, Executive Officer / Clerk of Court
       04/27/2021
    on _____________________________                                        R. Perez
                                                                         By __________________________________, Deputy Clerk
                 (Date)
LACIV 190 (Rev 6/18)       NOTICE OF CASE ASSIGNMENT – UNLIMITED CIVIL CASE
LASC Approved 05/06
         Case 2:21-cv-05370-RAO Document 1-1 Filed 07/01/21 Page 16 of 35 Page ID #:26
                                   INSTRUCTIONS FOR HANDLING UNLIMITED CIVIL CASES

The following critical provisions of the California Rules of Court, Title 3, Division 7, as applicable in the Superior Court, are summarized
for your assistance.

APPLICATION
The Division 7 Rules were effective January 1, 2007. They apply to all general civil cases.

PRIORITY OVER OTHER RULES
The Division 7 Rules shall have priority over all other Local Rules to the extent the others are inconsistent.

CHALLENGE TO ASSIGNED JUDGE
A challenge under Code of Civil Procedure Section 170.6 must be made within 15 days after notice of assignment for all purposes
to a judge, or if a party has not yet appeared, within 15 days of the first appearance.

TIME STANDARDS
Cases assigned to the Independent Calendaring Courts will be subject to processing under the following time standards:

COMPLAINTS
All complaints shall be served within 60 days of filing and proof of service shall be filed within 90 days.

CROSS-COMPLAINTS
Without leave of court first being obtained, no cross-complaint may be filed by any party after their answer is filed. Cross-
complaints shall be served within 30 days of the filing date and a proof of service filed within 60 days of the filing date.

STATUS CONFERENCE
A status conference will be scheduled by the assigned Independent Calendar Judge no later than 270 days after the filing of the
complaint. Counsel must be fully prepared to discuss the following issues: alternative dispute resolution, bifurcation, settlement,
trial date, and expert witnesses.

FINAL STATUS CONFERENCE
The Court will require the parties to attend a final status conference not more than 10 days before the scheduled trial date. All
parties shall have motions in limine, bifurcation motions, statements of major evidentiary issues, dispositive motions, requested
form jury instructions, special jury instructions, and special jury verdicts timely filed and served prior to the conference. These
matters may be heard and resolved at this conference. At least five days before this conference, counsel must also have exchanged
lists of exhibits and witnesses, and have submitted to the court a brief statement of the case to be read to the jury panel as required
by Chapter Three of the Los Angeles Superior Court Rules.

SANCTIONS
The court will impose appropriate sanctions for the failure or refusal to comply with Chapter Three Rules, orders made by the
Court, and time standards or deadlines established by the Court or by the Chapter Three Rules. Such sanctions may be on a party,
or if appropriate, on counsel for a party.

This is not a complete delineation of the Division 7 or Chapter Three Rules, and adherence only to the above provisions is
therefore not a guarantee against the imposition of sanctions under Trial Court Delay Reduction. Careful reading and
compliance with the actual Chapter Rules is imperative.

Class Actions
Pursuant to Local Rule 2.3, all class actions shall be filed at the Stanley Mosk Courthouse and are randomly assigned to a complex
judge at the designated complex courthouse. If the case is found not to be a class action it will be returned to an Independent
Calendar Courtroom for all purposes.

*Provisionally Complex Cases
Cases filed as provisionally complex are initially assigned to the Supervising Judge of complex litigation for determination of
complex status. If the case is deemed to be complex within the meaning of California Rules of Court 3.400 et seq., it will be
randomly assigned to a complex judge at the designated complex courthouse. If the case is found not to be complex, it will be
returned to an Independent Calendar Courtroom for all purposes.




LACIV 190 (Rev 6/18)        NOTICE OF CASE ASSIGNMENT – UNLIMITED CIVIL CASE
LASC Approved 05/06
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